              Case 4:22-cv-03892-YGR Document 141 Filed 01/22/24 Page 1 of 2



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11   Attorneys for Involuntary Plaintiff Thales Visionix, Inc.
12
                                     UNITED STATES DISTRICT COURT
13

14                             NORTHERN DISTRICT OF CALIFORNIA

15

16
     GENTEX CORPORATION and INDIGO                      Case No.: 4:22-cv-03892-YGR
17   TECHNOLOGIES, LLC,

18          Plaintiffs,                                 NOTICE OF APPEARANCE OF ROBERT P.
19                                                      HART
     THALES VISIONIX, INC.,
20
            Involuntary Plaintiff,
21
     v.
22

23   META PLATFORMS, INC., and META
     PLAINTFORM TECHNOLOGIES, LLC,
24             Defendants.
25

26

27
            Involuntary Plaintiff Thales Visionix, Inc. hereby notifies the Court and the parties to this
28
     action that Robert P. Hart of ADDYHART P.C., an attorney admitted to practice in this Court,

                                                       NOTICE OF APPEARANCE OF ROBERT P. HART - 1-
                                                                          Case No. 4:22-cv-03892-YGR
                Case 4:22-cv-03892-YGR Document 141 Filed 01/22/24 Page 2 of 2



1    appears as additional counsel for Involuntary Plaintiff Thales Visionix, Inc. in this matter.
2
     Please serve all pleadings, correspondence, and other material on Mr. Hart at the following
3
     address:
4

5

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10

11              Dated this 22nd day of January, 2024.    Respectfully submitted,
12
      Meredith Martin Addy (pro hac vice)                /s/ Robert P. Hart
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                                                        NOTICE OF APPEARANCE OF ROBERT P. HART - 2-
                                                                           Case No. 4:22-cv-03892-YGR
